






NO. 07-02-0491-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



MAY 4, 2004



______________________________




CHARLES TYLER, APPELLANT



v.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 64TH DISTRICT COURT OF HALE COUNTY;



NO. A14263-0111; HON. JACK R. MILLER, PRESIDING



_______________________________



Before QUINN and REAVIS, JJ., and BOYD, S.J. (1)

	On April 8, 2002, upon appellant's guilty plea, the trial court found evidence
sufficient to convict appellant of the offense of theft, a state jail felony offense.  However,
it granted deferred adjudication for a period of four years.  On October 22, 2002, upon a
hearing on the State's motion to proceed to adjudication, and after appellant's plea of true
to some of the State's allegations, the trial court found that appellant had violated the terms
under which his adjudication was deferred and proceeded to adjudicate his guilt.  His
punishment was then assessed at two years confinement in a state jail facility.  Appellant
gave a timely notice of appeal from the trial court's decision.

	Appellant's appellate counsel has now filed an Anders brief with this court in which
he states he has carefully examined the trial record and determined the appeal is without
merit.  See Anders v. California, 386 U.S. 738, 744-45, 87 S.Ct. 1396, 18 L.Ed.2d 493
(1967); High v. State, 573 S.W.2d 807, 809-11 (Tex. Crim. App. 1978).  Additionally, he
has filed a motion to withdraw and notified appellant of his right to file a pro se brief. (2)

	 In his brief, counsel certifies that he has thoroughly reviewed the clerk's and
reporter's records in this case as well as the applicable law relating to cases in which the
trial court has proceeded to adjudication after having first deferred that adjudication.  In
particular, he notes the decisions of our Court of Criminal Appeals in Williams v. State, 592
S.W.2d 931 (Tex. Crim. App.1979) and Olowosuko v. State, 826 S.W.2d 940 (Tex. Crim.
App.1992) as well as the provision of article 42.12 of the Code of Criminal Procedure. (3)  All
of the references explicate that the decision of a trial judge to proceed to adjudicate guilt
because of a violation of the conditions under which adjudication was deferred is not
appealable. 

	We have also made an independent examination of the record and the authorities
to determine whether there are arguable grounds that might support the appeal.  See
Penson v. Ohio, 488 U.S. 75, 83,109 S.Ct. 346, 102 L.Ed.2d 300 (1988); Stafford v. State,
813 S.W.2d 503, 511 (Tex. Crim. App. 1991).  We have found no such grounds and agree
with counsel that the appeal is without merit and is frivolous.  Currie v. State, 516 S.W.2d
684 (Tex. Crim. App. 1974).

	Accordingly, counsel's motion to withdraw is granted, and the judgment of the trial
court must be, and is hereby, affirmed. 


							John T. Boyd

							Senior Justice


Do not publish.
1. John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment. 
Tex. Gov't Code Ann. §75.002(a)(1) (Vernon Supp. 2004). 
2.  Appellant filed a response in which he complained of the State's failure to obtain
his admittance to a rehabilitation program. 
3. See Tex. Code Crim. Proc. Ann. art. 42.12(5)(b) (Vernon Supp. 2004).


